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                                 THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY

        -------------------------------------------------X
         Channel Method Partners, LLC, a                             Civil Action
         New Jersey limited liability company,               No#3:14-CV-05358 FLW-LHG

                                  Plaintiff,

                            v.

         Pharmatech, Inc., a Colorado
         Corporation,
                            Defendant.                               ORDER

        --------------------------------------------------X
        THIS MATTER, having been brought before this court upon the filing of a Notice of

        Voluntary Dismissal by Plaintiff, Channel Methods Partners, LLC, in accordance

        with the provisions of Rule 41(a) of the Rules of Federal Civil Procedure and in

        filing being in compliance with Rule 41(a), and for good cause having been shown;


        It is on this _ _ _ day of September, 2014;

        ORDERED, that the Complaint filed in the above entitled action is hereby

        voluntarily dismissed by Plaintiff, Channel Methods partners, LLC, without prejudice

        and without costs being awarded to any party.



                                                    Hon. Freda L. Wolfson,    U.S.D.C.J.
